    Case:20-01531-ESL13 Doc#:21 Filed:05/29/20 Entered:05/29/20 12:35:49                                                            Desc: Main
                        IN THE UNITED STATES BANKRUPTCY
                                 Document    Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

CARMEN JULIA ROLDAN VELAZQUEZ                                                                CASE NO. 20-01531-ESL
                                                                                             CHAPTER 13
   DEBTOR(S)
                                                                                                **AMENDED DOCUMENT**

                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. The applicable commitment period (years) is: 3

2. The liquidation value of the estate is $: to be determined

3. The general unsecured pool is $: 0



               AMENDED PLAN DATE: March 28, 2020                                              PLAN BASE: $9,000.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 5/29/2020
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] FAILS LIQUIDATION VALUE TEST § 1325(a)(4):

  Trustee's objection to claim 3 by claimant Empresas Berrios, since evidence of security is missing.
Objection is pending adjudication.




NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Pedro R Medina
                                                                                        Pedro R Medina
Atty: ROBERTO FIGUEROA                                                                  USDC #226614
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - EN
